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                                CERTIFICATE OF REVIEW


       The United States Trustee has reviewed the foregoing amended report and account,
and the attachments thereto, and has no objections to the same.



DATED: February 21, 2019                        William K. Harrington
                                                United States Trustee, Region 1


                                                By: /s/ Beverly A. Patterson
                                                Beverly A. Patterson
                                                Paralegal Specialist
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